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     THOMAS A. JOHNSON, #119203
 1
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant Armando Chavez
 4
 5                               IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                      )   Case No.: 2:07-cr-00515 WBS
 8   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
 9                  Plaintiff,                        )   CONTINUE JUDGMENT AND
                                                      )   SENTENCING
10       v.                                           )
     ARMANDO CHAVEZ,                                  )   Date:    January 4, 2010
11                                                    )   Time:    8:30 a.m.
                    Defendant                         )   Judge:   Hon. William B. Shubb
12                                                    )
13
14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
15   and Sentencing scheduled for January 4, 2010 at 8:30 a.m. is to be continued to March 8, 2010
16   a.m. in the same courtroom. Michael Beckwith, Assistant United States Attorney, and Thomas
17   A. Johnson, Defendant’s attorney, both agree and stipulate to a continuance of the judgment and
18   sentencing.
19          It is further stipulated that the period from the date of this stipulation through and
20   including March 8, 2010 be excluded in computing the time within which trial must commence
21   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T2 and
22   T4 for continuity and preparation of counsel.
23
24          IT IS SO STIPULATED.
25   DATE: December 7, 2009                                                /s/ Thomas A. Johnson_____
                                                                           THOMAS A. JOHNSON
26                                                                         Attorney for Defendant
                                                                           ARMANDO CHAVEZ
27
28




                                  STIPULATION AND ORDER                   -1-
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     DATE: December 7, 2009                                               LAWRENCE G. BROWN
 1                                                                        United States Attorney
 2                                                          By:            /s/ Thomas A. Johnson for
                                                                          MICHAEL BECKWITH
 3                                                                        Assistant U.S. Attorney
 4
 5   The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
     this Court.
 6
     Date of Referral to Probation Officer:                        September 28, 2009_____________
 7                                                                 (Date of Plea or Verdict)
 8
     Judgment and Sentencing date:                                 March 8, 2010 at 8:30 a.m.________
 9
     Motion for Correction of the Pre-Sentence
10   Report shall be filed with the court and                      March 1, 2010
11   served on the Probation Officer and opposing
     counsel no later than:
12
     The Pre-Sentence Report shall be filed with
13
     the court and disclosed to counsel no later                   February 22, 2010
14   than:

15   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                     February 15, 2010
16
     Probation Officer and opposing counsel
17   no later than:

18   The proposed Pre-Sentence Report                              February 1, 2010
     shall be disclosed to counsel no later than:
19
20
21   IT IS SO ORDERED.
22
23
     Dated: December 9, 2009
24
25
26
27
28




                                STIPULATION AND ORDER                     -2-
